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                           UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF RHODE ISLAND

 IN RE:           KRISTIN M. ALLARD                             Chapter 7
                                                                BK No. 18-10820
                        Debtor

      TRUSTEE’S NOTICE FOR COURT TO ESTABLISH A CLAIMS BAR DATE
             FOR ALL CREDITORS TO FILE PROOFS OF CLAIM

       The undersigned, Charles A. Pisaturo, Jr., Esquire, chapter 7 trustee of the above

referenced case, hereby requests that the Court notify all creditors and parties in interest of the

possibility of a distribution and that they must file a Proof of Claim by a date certain in order to

participate in any payment to creditors hereunder.

January 9, 2019                                /s/Charles A. Pisaturo, Jr.
                                               CHARLES A. PISATURO, JR. (REG. NO. 4615)
                                               Trustee
                                               Law Offices of Charles A. Pisaturo, Jr.
                                               1055 Elmwood Avenue
                                               Providence, RI 02907
                                               TEL: (401) 274-3800
                                               FAX: (401) 751-6786

                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 9th day of January, 2019, I served by electronic filing
(ECF), or by email or first-class mail, postage pre-paid, a true copy of the within TRUSTEE’S
NOTICE TO ESTABLISH CLAIMS BAR DATE to the following parties: Gary L. Donahue,
Esq., Assistant U.S. Trustee, Peter G. Berman, Esq., Marc D. Wallick, Esq.:

Matthew J. McGowan, Esq.
Salter McGowan Sylvia & Leonard, Inc.
56 Exchange Terrace
Providence, RI 02903
MMcGowan@smsllaw.com

James J. McNulty
40 Court Street Suite 1150
Boston, MA 02108

PRA Receivables Management, LLC PO
Box 41021
Norfolk, VA 23541
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                                      /s/Jennifer Peters
                                      Jennifer Peters
                                      Law Offices of Charles A. Pisaturo, Jr.
                                      1055 Elmwood Avenue
                                      Providence, RI 02907
